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SN¥TED STATES BANKRUPTCY COURT
SOUTHERN DISTR!CT OF FLOR¥DA
MIAMZ DlVlSlON

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|N RE: Case No. 11-35737~RA|VE
Chapter 13 "

He§dy Kenie Reyes,

Debtor
l

MOT!ON TO VALUE AND BETERNHNE SECURED STAT{JS OF LiEN
ON REAL PROPER°¥'Y

¥MPORTANT NO“£`ICE TO CREDITORS:
TH|S |S A NIOTEON TG VALUE YOUR COLLATERAL

This Motion seeks to value collateral described below securing'the claim of
the creditor listed below.

 

EF YOU DlSPUTE THE VALUE A¥_LEGED OR TREATMENT OF YDUR CLA!M
PROPOSED ¥N TH|S MOT|ON, YOU MUST Fi§..E A WRZTTEN OBJECTlON NO
LATER THAN TWO BUSlNESS DAYS PR|OR TO THE SCHEDULED HEAR|NG

[SEE LOCAL RULE 301 5-3|AL§21[

_ if you have not filed a proof of claim, you have until the iater of the claims bar
date or 21 days from the date this Motion was served upon you to file a proof
of claim or you will be deemed to have waived the right to payment of any
unsecured claim to which you `mlght otherwise be entitled. {See Loca¥ Ruie

301 5-3(A)(4)}

1. Pursuant to 11 U.S.C. §506, Bankruptcy Rule 3012, l_ooal Ruie 3015~3, the debtor seeks to value

real property securing the claim of OCWEN LOAN SERVIC§NG, LLC FOR THE BENEFIT OF

SOUTH ATLANT!C MORTGAGE CORPORATlON (the “|..ender”). Lender holds a 2nd mortgage
recorded on 11/22/2006 in OR Book 25122 Pege(s) 0868~881 in the ofHCial records of l\/liemi»

Dade County, l-“lor§cie.

2. The real property is located at 6740 NW 1?'5th Lene, Unit ZO-C. |Vliaml, Floride 33015 and

is more particularly described es follows:

CONDOM|N|UM UN!T C, BU|LDENG 20, ANTlGUA AT COUNTR¥ CI.UB OF M|AM|, A CONDOMEN|UM,
TOGETHER W!TH AN UND!V|DED EN`¥EREST |N THE COMMON ELENEENTS, ACCORD|NG TO THE
DECJ..ARAT|ON GF CONDON||NIUM THEREOF RECORDED |N OFFlCIAL. RECORD BOOK 24515,
PAGE 2242, AS AMENDED FROM TIME TO TIME, OF TI'EE PUBL!C RECORDS OF MIAMI-

DADE COUN`TY, FLOREDA.

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3. At the time of the ii|ing of this case, the value of the real property is §35,020.00 as determined
by An Aggraiser and lVlarket Comgarab|es.

4. BANK OF AiViER|CA HOME LOANS SERVlCING FOR T'HE BENEF|T OF SOUTH ATLANT|C
l\llOR'l'GAGE CORPORAT|ON holds superior liens on the real propertyl senior to priority to
Lender, securing claims iri the aggregate amount of §125,882.40.

5. (Select only one).'

Lender’s collateral consists solely ot the debtor's principal residence As there is no
equity in the real property after payment in full of the claims secured by liens senior to
that of l_ender, the value ot Lender’s secured interest in the real property is § .

X Lender’s collateral is not solely the debtor’s principal residence After payment in full
of the claims secured by liens senior to that of Lender, there is equity of $__;_Q;
remaining in the real property Accordingly, the value of Lender’s secured interest in
the real property is $_»_Q;_ and the value of the Lender’s unsecured, deficiency claim is

$30:803.00.
6. 'i'he undersigned reviewed the docket and claims register and states (select only one):
L Lender has not filed a proof of claim in this case “l“he trustee shall not

disburse any payments tc Lender unless a proof of claim is timely
filed |n the event a prooic of claim is timely iiied, it shall be classified
as a secured claim to the extent provided in paragraph 5, abcve, and
as a general unsecured claim for any deficiency, regardless of the
original classification in the proof of claim as iiied. l.ender’s secured
claim shall be paid through the plan at _Qf’[g__ and for a total of

§§

Ol'

Lender filed a proof ci claim in this case lt shall be classified as a
secured claim to the extent provided in paragraph 5, above, and as a

general unsecured claim for any deiiciency, regardless of the

original classification in the proof of claim l.ender’s secured

claim shall be paid through the plan at and for a total of
§ v .
7_ The subject real property may not be sold cr refinanced Without proper notice

and further order cl the court

WHEREl-“ORE, the debtor_respectiuily requests an order cf the Court (a) determining the value
of the real property in the amount asserted in this |Vlotion, (b) determining the secured status oi the
tender’s lien as stated above, (c) determining that any timely filed proof ct claim is classified as stated
apove, (d) ll l_ender's secured interest in the real property is determined to be $0, deeming Lender’s
mortgage on the real property void and extinguished automatically7 without further order cl the Court,
upon entry ct the debtor’s discharge in this chapter 13 case, and (e) providing such other and further
relief as is just

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NOTlCE iS HEREBY GiVEN THAT:

'l. in accordance With the rules ot this Court, unless an objection is filed with the Court and served
upon the debtor, the debtors attorney, and the trustee at least two {2) business days prior to the
hearing scheduled on this lVlotion, the value of the collateral may be established at the amount
stated above without further notice, hearing or order of the Ccurt. Pursuant to Loca| Rule 3015-3,
timely raised objections will be heard at the hearing scheduled on the Nlotion.

2. “l°he undersigned acknowledges that this l\/lotion and the notice of hearing thereon must be
served pursuant to Banl<ruptcy Ruie 7004 and Local Rule 3015~3 at least 21 days prior to the
hearing date and that a certificate of service must be filed when the lVlotion and notice of hearing

thereon are servedl

Submitted by:

/s/ Andres i\llonteio
Andres l\/lontejo 659428

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